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1                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
2                         SAN FRANCISCO DIVISION
           ________________________________________________
3          BRAYDEN STARK and JUDD OOSTYEN,)
           on behalf of themselves and all)
4          others similarly situated,      )
           Plaintiffs,                     )
5          v.                              )No.3:22-cv-03131
                                           )   -JCS
6          PATREON, INC.,                  )
           Defendant.                      )
7          ________________________________________________
8                  CONFIDENTIAL ATTORNEYS EYES' ONLY
                   30(B)(6) DEPOSITION OF DEFENDANT,
9                              PATREON, INC.,
                       DEPOSITION OF JASON BYTTOW
10         _______________________________________________
11                              8:00 a.m.
                              August 1, 2023
12                          Brooklyn, New York
13
14
15                             CORRECTED TRANSCIRPT
16
17
18
19
20                                   File #6023169
21
22
23
24
25                    Reported by: Judy Robinson, CCR No. 2171

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1              Q.   Okay.     So, yeah, and this is -- well,            09:54

2         we're going to look at different documents                    09:54

3         today, and some of them have different forms of               09:54

4         numbering.       So I'll just try to be clear.       But      09:54

5         for this one I'm on Page 5 of the document.                   09:54

6                   Now do you see where I was talking                  09:54

7         about, Areas of Inquiry?                                      09:54

8              A.   I do, yes.     Sorry for that.                      09:54

9              Q.   No, no problem.                                     09:54

10                  So it begins with 2A, and it's not                  09:54

11        completely sequential, but there is several                   09:54

12        categories here through 9; do you see those?                  09:54

13             A.   Yes.                                                09:55

14             Q.   Have you seen those categories before?              09:55

15             A.   So yes.     These -- these I have seen now          09:55

16        that I'm kind of looking at this in more detail.              09:55

17             Q.   Okay.                                               09:55

18                  And do you understand that Patreon                  09:55

19        designated you to testify on its behalf about --              09:55

20             A.   Yes.                                                09:55

21             Q.   -- these different categories?                      09:55

22             A.   Uh-huh, yep.                                        09:55

23             Q.   We'll go into each in -- in more                    09:55

24        detail, but what did you do broadly to prepare                09:55

25        for today's deposition?                                       09:55

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1               A.   I reviewed our code, entire code                     09:55

2         history as it pertains to how we've integrated                  09:55

3         with Facebook and the commits thereof that                      09:55

4         introduced or modified those integrations.

5                    REPORTER:     Hold on.   Clarification.

6         The commits thereof?        C-O-M-M-I-T-S?

7                    WITNESS:     C-o-m-m-i-t-s.

8                    REPORTER:     The commits.    Okay.   Excuse

9         me.    Thank you.

10        BY MR. GRILLE:                                                  09:56

11              Q.   Is "commits" a term that software                    09:56

12        engineers sometimes use?                                        09:56

13              A.   Yes.                                                 09:56

14              Q.   What does it mean?                                   09:56

15              A.   In the general sense of, as you said,                09:56

16        kind of general engineers in the industry.                      09:56

17        It's -- it is, essentially, a -- a revision, a                  09:56

18        request to revise the code base, and that code                  09:56

19        then goes into a peer review and gets accepted                  09:56

20        and then merged in with the production kind of                  09:56

21        master code, if you will, the code base.              That      09:56

22        is, like, the definition of a commit, at least                  09:56

23        just the way I use it, and broadly speaking.                    09:57

24              Q.   Got it.     Got it.                                  09:57

25                   At Patreon, is that process all                      09:57

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1         performed by Patreon employees?                             09:57

2              A.    I wouldn't say all employees.       It's --      09:57

3         it's -- it's people who have access to make code            09:57

4         changes.     Though broadly speaking, that's the            09:57

5         majority of engineers, but it may not include,              09:57

6         you know, the CEO, for example.         I mean, maybe,      09:57

7         maybe not.                                                  09:57

8              Q.    So how did you review the code history           09:57

9         as it pertains to Patreon's integration with                09:57

10        Facebook?                                                   09:57

11             A.    So I reviewed, essentially, the kind of          09:58

12        core code in which that Pixel has been hard                 09:58

13        coded on to the website, and then I did                     09:58

14        essentially kind of a look-back analysis of any             09:58

15        lines that have changed or been introduced for              09:58

16        that -- for that hard-coded code as well as any             09:58

17        sort of modifications.                                      09:58

18                   So I can look at that in a historical            09:58

19        lens on a particular set of lines.          I can also      09:58

20        wrap or search the code base for any similar                09:58

21        terms to see if anything was introduced at any              09:58

22        other point within the code base.         And so I          09:58

23        looked at that through a historical lens through            09:58

24        the time period in which that is under inquiry.             09:58

25             Q.    So is it correct that you are able to            09:58

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1         look at the software code as it exists today and           09:58

2         also historically how it was going some time               09:58

3         back?                                                      09:59

4              A.    Yes.                                            09:59

5              Q.    What's the -- what would be the time            09:59

6         period?     Like, how far back did you look?               09:59

7              A.    It would be until -- it would be until          09:59

8         we started using GitHub, is our primary source             09:59

9         control for commits, which goes back quite a bit           09:59

10        beyond this date.        But for the purposes of when      09:59

11        the Pixel's introduced, I can kind -- I can see            09:59

12        exactly what the origin was for that even though           09:59

13        the code base kind of, you know, extends prior             09:59

14        to that.     So I have enough of a lens to see you         09:59

15        know, what the origins were.                               09:59

16             Q.    And when was Pixel introduced at                09:59

17        Patreon?                                                   09:59

18                   MR. WALKER:     Object to the form.             10:00

19                   WITNESS:    It was --                           10:00

20                   REPORTER:     Okay.                             10:00

21                   MR. WALKER:     Mr. Byttow, if you could        10:00

22        just pause just a moment after he completes his            10:00

23        questions so that I have an opportunity to                 10:00

24        impose an objection and none of us will talk               10:00

25        over one another.        That would be wonderful.          10:00

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1         six -- three to -- three to five months, maybe.                 10:17

2         Six months on or off.          Not -- you know, yeah,           10:17

3         it's really hard for me to accumulate a total                   10:17

4         and how long of a period of time right now.              I      10:17

5         can think about it if you like.                                 10:17

6              Q.    No, that's okay.       That's -- that's              10:17

7         helpful.                                                        10:17

8                    Are there any other Patreon employees                10:17

9         that you met with to prepare for today that we                  10:17

10        haven't discussed?                                              10:17

11             A.    No.                                                  10:17

12             Q.    Are there any other documents that you               10:17

13        reviewed to prepare for today that we haven't                   10:17

14        discussed?                                                      10:17

15             A.    No.                                                  10:17

16             Q.    When I say "documents," I would include              10:17

17        electronic materials and stuff you reviewed on                  10:17

18        your computer, or anything like that.                           10:18

19                   Is there anything else that you did to               10:18

20        prepare?                                                        10:18

21                   MR. WALKER:      Objection, form.                    10:18

22                   REPORTER:      Hold on.    Did you have an

23        objection?

24                   MR. WALKER:      Objection, form.

25                   REPORTER:      Okay.   Mr. Walker, can you

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1         speak up with your objections.              I couldn't hear

2         you.

3                     MR. WALKER:       Will do so.

4                     REPORTER:     Thank you.

5                     WITNESS:    Would -- can you repeat the              10:18

6         question?      BY MR. GRILLE:                                    10:18

7                Q.   Sure.   Let me try to maybe phrase it a              10:18

8         little bit better.                                               10:18

9                     When I say documents that you reviewed               10:18

10        to prepare for today, I mean more than just like                 10:18

11        paper documents.        I also mean anything                     10:18

12        electronic that you reviewed on a computer, a                    10:18

13        tablet, or a phone.                                              10:18

14                    So is there anything else that you've                10:18

15        reviewed to prepare for today that we haven't                    10:18

16        discussed?                                                       10:18

17                    MR. WALKER:       Objection, form.                   10:18

18                    WITNESS:    No.                                      10:18

19                    Sorry, I will pause.                                 10:19

20                    No, not that I can recall.                           10:19

21        BY MR. GRILLE:                                                   10:19

22               Q.   What is your highest level of                        10:19

23        education?                                                       10:19

24               A.   You'd like to know my highest level of               10:19

25        education?                                                       10:19

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1                Q.     Yes.                                                  10:19

2                A.     Does that include certifications?                     10:19

3         Degree?        What -- what do you define as highest                10:19

4         form of education?                                                  10:19

5                Q.     Yes.   I'd like to know --                            10:19

6                A.     Books I've read?                                      10:19

7                Q.     I don't know if we'll have to go that                 10:19

8         far.        We'll see.   But for now, certifications or             10:19

9         degrees that you have would be helpful.                             10:19

10               A.     Um, so I'm mostly a self-taught                       10:20

11        software engineer.          I've done three years of                10:20

12        college as a software engineering degree, and                       10:20

13        have about 17 years of experience.             I don't              10:20

14        recall exactly what certificates I have.                 Quite      10:20

15        a few.                                                              10:20

16               Q.     What certificates do you remember?                    10:20

17               A.     I can't remember right now.                           10:20

18               Q.     Would they be software engineering,                   10:20

19        certificates in -- within that field?                               10:20

20                      MR. WALKER:    Objection, form.                       10:20

21                      WITNESS:   Yes.    Some software                      10:20

22        engineering.         Some network engineering.       I've           10:20

23        got a certification in electrical engineering as                    10:21

24        well.                                                               10:21

25        BY MR. GRILLE:                                                      10:21

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1              Q.    Do you have a -- a LinkedIn profile?             10:21

2              A.    I do.                                            10:21

3              Q.    Does that contain an accurate                    10:21

4         representation of your work history?                        10:21

5              A.    What representation are you thinking             10:21

6         about?     Are you thinking about my historical             10:21

7         employment?                                                 10:21

8              Q.    Right.                                           10:22

9                    MR. WALKER:     Object to form.                  10:22

10                   WITNESS:     Yes.    It has, I believe,          10:22

11        roughly accurate timeline of my historical                  10:22

12        employment, though I don't really update it                 10:22

13        any -- much.        So I haven't looked at it in quite      10:22

14        a while.                                                    10:22

15        BY MR. GRILLE:                                              10:22

16             Q.    Let me introduce what we found just              10:22

17        publicly as your LinkedIn profile.           While I'm      10:22

18        doing that, I -- I don't mean to be invasive                10:22

19        with these questions.          It's -- it helps us to       10:22

20        understand a little bit about your background,              10:22

21        so that's the purpose for it.                               10:22

22             A.    I mean, I -- I could tell you.                   10:22

23             Q.    I think that's helpful.       Let me             10:23

24        introduce this to see if it can save some time,             10:23

25        and that should be available on your screen.                10:23

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1                     REPORTER:     Is this Number 15?

2                     MR. GRILLE:     Yes.

3                     REPORTER:     And what is it?

4                     MR. GRILLE:     LinkedIn profile.

5                     (Exhibit No. 15 was marked.)

6                     WITNESS:    I have this open.                   10:23

7          BY MR. GRILLE:                                             10:23

8              Q.     Does this look like an accurate                 10:23

9          representation of what's on your LinkedIn                  10:23

10         profile?                                                   10:23

11                    MR. WALKER:     Objection, form.                10:23

12                    WITNESS:    I mean, the dates I -- I need       10:23

13         to rethink or relook at them.        But more or less      10:23

14         what is on -- what is here is -- has a record of           10:23

15         my employment, yes.                                        10:23

16         BY MR. GRILLE:                                             10:23

17             Q.     Are these all places that you've worked         10:23

18         and -- and positions that you held there in the            10:24

19         experience section?                                        10:24

20                    MR. WALKER:     Objection, form.                10:24

21                    WITNESS:    This, I think, looks pretty         10:24

22         accurate, the top skills, with probably a bit              10:24

23         light compared to what I actually know.           But      10:24

24         sure.                                                      10:24

25         BY MR. GRILLE:                                             10:24

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1              Q.    What other skills would -- would you              10:24

2          add to that list?                                           10:24

3                    MR. WALKER:     Objection, form.                  10:24

4                    WITNESS:    I'm not sure it would be              10:24

5          pertinent unless you would like me to list off              10:24

6          all the languages and frameworks and libraries              10:24

7          that I have.     It could be -- it could take some          10:24

8          time.    Would you like me to list those?                   10:24

9          BY MR. GRILLE:                                              10:24

10             Q.    Yes.                                              10:24

11             A.    Would you like me to start with                   10:24

12         languages?                                                  10:25

13             Q.    I think if you could just remember --             10:25

14         if you could list the languages and top skills              10:25

15         that you remember while you're sitting here now.            10:25

16                   MS. PURCELL:     Objection, form.                 10:25

17                   WITNESS:    It's great digression.         I      10:25

18         believe the first language that I had -- well,              10:25

19         if we talk about top skills I would put React               10:25

20         there.    I'd put Android and iOS development               10:25

21         publish I've done in my professional career;

22         C++, C Sharp, Origin.Net Studios.        So I --

23                   REPORTER:     Hold on.

24                   WITNESS:    -- I have an understanding

25         of --

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1                     REPORTER:    Hold on.   D++ (sic) and then

2          please -- please start after D++.

3                     WITNESS:    I would probably put PHP and        10:26

4          Perl up there as well.       And surprisingly              10:26

5          JavaScript is not up there.        That's -- that one      10:26

6          there, too.                                                10:26

7                     Probably covers most of the languages.          10:26

8          We can talk about frameworks if you'd like.                10:26

9          BY MR. GRILLE:                                             10:26

10               Q.   What are frameworks as you're using             10:26

11         that term?                                                 10:26

12               A.   Frameworks are generally large                  10:26

13         libraries, if you will.       Not to overload that         10:26

14         term, but that you would build something on top            10:26

15         of.                                                        10:27

16                    So, for example, Flask is a framework.          10:27

17         Django is listed as a skill -- as a framework.             10:27

18         These provide, essentially, the scaffolding to             10:27

19         build web applications.       On top of, in this           10:27

20         scenario, HTTP, HTTPS, et cetera.                          10:27

21                    Another framework would be -- would you         10:27

22         like me to continue?                                       10:27

23               Q.   Why don't you continue your response.           10:27

24         I'll let you finish.                                       10:27

25               A.   Sure.                                           10:27

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1                   Another framework again is Django, same            10:27

2          similar to Flask -- Node, another example of a              10:27

3          framework.   They all provide similar things in             10:27

4          different languages while Django and Flack are              10:28

5          in Python noted in JavaScript.        They both --          10:28

6          both those provide all service side frameworks              10:28

7          for, essentially, writing for -- or for building            10:28

8          a website or web application.                               10:28

9                   There are other terms for frameworks               10:28

10         that are not really typical to the web that I               10:28

11         have used.   Would you like me to continue                  10:28

12         listing skills that I have?                                 10:28

13             Q.   Well, let me ask:      Are there other             10:28

14         major skills that you think are relevant to your            10:28

15         testimony today that you haven't discussed?                 10:28

16             A.   I'm -- I -- I -- I'm not sure.                     10:28

17                  I -- are you asking if there are any               10:28

18         other skills that are relevant to this                      10:28

19         testimony?                                                  10:28

20             Q.   Right.                                             10:28

21                  MR. WALKER:    For the record, I -- I              10:28

22         interposed an objection on the basis of form.        I      10:28

23         will make the next one louder.        But I interposed      10:29

24         an objection in response to the prior question.             10:29

25                  WITNESS:    So you're asking me do I have          10:29

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1          any other skills that are pertinent to this                    10:29

2          discussion?                                                    10:29

3          BY MR. GRILLE:                                                 10:29

4              Q.   Yes.    Yes.                                          10:29

5                   So we talked about how you prepared for               10:29

6          certain categories of testimony today.           Are           10:29

7          there other skills in your background that are                 10:29

8          relevant as -- to the testimony that you                       10:29

9          anticipate providing today?                                    10:29

10                  MR. WALKER:       Objection, form.                    10:29

11                  WITNESS:       Are there any other skills             10:29

12         relevant to providing this testimony?                          10:29

13                  Well, I think speaking to you,                        10:29

14         translating information.        That's pretty                  10:29

15         relevant.     But I have a pretty good                         10:29

16         understanding of, broadly speaking, how                        10:29

17         patreon.coms are written.           The language is used,

18         the frameworks used.

19                  REPORTER:       Hold on.     Clarification.

20         What .coms?

21                  WITNESS:       Patreon.com.

22                  REPORTER:       Patreon, okay.     Excuse me.

23         Go ahead.

24                  WITNESS:       I'm familiar with the

25         frameworks and skills -- or sorry, the                         10:30

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1          powerpatreon.com.      I'm familiar with the tools              10:30

2          that we use and the -- the languages in which                   10:30

3          it's written and how it's -- the majority of how                10:30

4          it's written.     So I have a pretty good                       10:30

5          understanding of how it's built.         So it's --             10:30

6          it's pretty relevant to transcribing what I have                10:30

7          -- what I know.                                                 10:30

8          BY MR. GRILLE:                                                  10:30

9              Q.   How long have you been at Patreon?                     10:30

10             A.   I've been here over seven-and-a-half                   10:31

11         years.   I don't know the exact month anymore.                  10:31

12             Q.   Have you always held the same position                 10:31

13         at Patreon?                                                     10:31

14             A.   I had to change positions.                             10:31

15             Q.   What positions have you held?                          10:31

16             A.   I joined as a mid-level engineer.            Then      10:31

17         into a senior engineer.       And then into an                  10:31

18         engineering manager.      And then a senior                     10:31

19         engineering manager.      And then a staff engineer.            10:31

20         Back into an IC role.                                           10:31

21             Q.   What was the last one?        IC role, what            10:32

22         does that stand for?                                            10:32

23             A.   Individual contributor.                                10:32

24             Q.   Is that also a similar software                        10:32

25         engineering role?                                               10:32

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1              A.    Similar to what?                                      10:32

2              Q.    Let me ask a different question.                      10:32

3                    Are each of those roles, would you                    10:32

4          categorize them as software engineering?                        10:32

5              A.    They -- it all pertains to software                   10:32

6          engineering, yes.      Whether that's directly or               10:32

7          indirectly.                                                     10:32

8              Q.    What would be the difference between                  10:32

9          directly and indirectly?                                        10:32

10             A.    And when I say that, an IC would be                   10:32

11         directly, generally directly writing code.            When      10:32

12         I say "indirectly," for example, as a manager,                  10:32

13         you may or may not be writing code, but you're                  10:32

14         managing people that do.                                        10:33

15             Q.    On your LinkedIn profile, there's a                   10:33

16         section called "Credits" on the second page, do                 10:33

17         you see that?                                                   10:33

18             A.    I do.                                                 10:33

19             Q.    What is that?                                         10:33

20             A.    Those are video games.                                10:33

21             Q.    What does it mean to have a credit in                 10:33

22         that context?                                                   10:33

23             A.    It means that I have accredited to have               10:33

24         worked on those games, just like in a movie                     10:33

25         credit.                                                         10:33

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1              Q.   Did you work on those games in a                 10:33

2          software engineering capacity?                            10:34

3              A.   I did.                                           10:34

4              Q.   Because I'll reference at some point             10:34

5          topics that we're talking about, and I'd like to          10:34

6          talk about 2A.     This is Page 5 on the document.        10:34

7                   Do you see where it says the number of           10:34

8          Patreon account holders?      "This Patreon account       10:34

9          was used to watch at least one video on the               10:34

10         Patreon website."                                         10:35

11             A.   Uh-huh.    Yep, I do.                            10:35

12             Q.   Is this -- to prepare for this                   10:35

13         category, you had a discussion with Mr. Brini;            10:35

14         is that correct?                                          10:35

15             A.   That's correct, yes.                             10:35

16             Q.   We already talked about that and he --           10:35

17         he provided that spreadsheet for you; is that             10:35

18         right?                                                    10:35

19             A.   Yes.                                             10:35

20             Q.   All right.                                       10:35

21                  So I think what we should do here is             10:35

22         take a quick break so I can get that spreadsheet          10:35

23         and then we can talk about it a little bit more.          10:35

24                  VIDEOGRAPHER:     Counsel, do you agree to       10:35

25         go off the record?                                        10:35

                                                                 Page 39

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1                     MR. WALKER:      I do.                                 10:35

2                     VIDEOGRAPHER:         Going off the record.            10:35

3          The time is 1:35 p.m.                                             10:35

4                     (Off the record.)                                      10:50

5                     VIDEOGRAPHER:         Back on the record.     The      10:50

6          time is 1:50 p.m.                                                 10:50

7          BY MR. GRILLE:                                                    10:50

8              Q.     All right.      We're back on the record.              10:50

9                     Did you speak with anybody other than                  10:50

10         your attorneys during the break?                                  10:50

11             A.     No.                                                    10:50

12             Q.     And I now have what I've just                          10:50

13         introduced as Exhibit 16.            Can you take a look          10:50

14         at that?                                                          10:50

15                    (Exhibit No. 16 was marked.)                           10:50

16                    WITNESS:      Yeah.                                    10:51

17         BY MR. GRILLE:                                                    10:51

18             Q.     Is that the spreadsheet that you                       10:51

19         referenced earlier that you were reviewing?                       10:51

20             A.     Yes.                                                   10:51

21             Q.     And this is data that came from                        10:51

22         Mr. Brini?                                                        10:51

23             A.     Correct.                                               10:51

24             Q.     And we talked about it earlier, but can                10:51

25         you walk me through what this spreadsheet shows?                  10:51

                                                                          Page 40

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1                    REPORTER:      That you were what?

2          Piloting?

3                    WITNESS:      Piloting, like testing with.

4                    REPORTER:      Thank you.

5          BY MR. GRILLE:                                                11:47

6              Q.    And then when Patreon fully switched to             11:47

7          allowing native video uploads is, you said,                   11:47

8          public information?                                           11:47

9              A.    Yeah.                                               11:47

10                   We made an announcement to the public               11:47

11         in -- you know, in the end of the Q4 of 2022,                 11:47

12         maybe October, November, something like that.                 11:47

13             Q.    For uploaded native video, users can                11:48

14         watch those videos directly on Patreon's                      11:48

15         website; is that correct?                                     11:48

16             A.    Yes.                                                11:48

17             Q.    Can Patreon's subscribers search for                11:48

18         particular video content that may interest them?              11:49

19             A.    No.                                                 11:49

20                   Our search is very primitive.          We have      11:49

21         a creator search that just searches by creator                11:49

22         name.    That's our primary search.                           11:49

23                   The creator page you can search by, I               11:49

24         believe, the body of the content of the post for              11:49

25         any texts, and it will try to route -- you know,              11:49

                                                                      Page 65

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1          filter down those given post on that creator.              11:49

2                     If -- if you are -- actually, I'm not           11:49

3          sure if nonsubscribers can do that search today.           11:49

4          I -- I think it's a subscriber-only search                 11:49

5          for -- for their post types, yeah.          For the        11:49

6          posts of a creator.                                        11:50

7                     You might be able to filter by media            11:50

8          type, but that's unreliable as well.          I think      11:50

9          you can.     I think you can filter maybe by audio         11:50

10         or video, but, like, link posts might not be               11:50

11         reliable as to having audio or not having video.           11:50

12             Q.     For filtering by media type, would that         11:50

13         be site-wide?                                              11:50

14                    MR. WALKER:   Form.                             11:50

15                    WITNESS:   Filtering by media type is           11:50

16         creator-specific.                                          11:50

17         BY MR. GRILLE:                                             11:50

18             Q.     Are posts indexed or categorized by             11:50

19         media type?                                                11:51

20                    MR. WALKER:   Object to form.                   11:51

21                    WITNESS:   So when you say "indexed,"           11:51

22         can you -- can you tell me more about what you             11:51

23         mean there?                                                11:51

24         BY MR. GRILLE:                                             11:51

25             Q.     I -- I think you might have already             11:51

                                                                   Page 66

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1          answered the question.                                    11:51

2                     If you can filter by media type, that          11:51

3          means that there's some functionality in the              11:51

4          website that designates a post based on the type          11:51

5          of media; is that right?                                  11:51

6                     MR. WALKER:   Objection, form.                 11:51

7                     WITNESS:   Yes.   There is a media             11:51

8          filter, yes.                                              11:51

9          BY MR. GRILLE:                                            11:51

10             Q.     I want to turn to the next topic of            11:52

11         where you've been designated.        This is back on      11:52

12         Exhibit 14, No. 2E.                                       11:52

13             A.     Uh-huh.                                        11:52

14             Q.     Do you see -- yeah.                            11:52

15                    Do you see where it says, "The manner          11:52

16         in which the terms and policies are presented             11:52

17         and reviewed --                                           11:52

18             A.     Yes.                                           11:52

19             Q.     -- "by subscribers"?                           11:52

20             A.     Yep.                                           11:52

21             Q.     How did you prepare for that topic?            11:52

22             A.     I reviewed our terms and policies.             11:53

23             Q.     Has the -- Patreon has -- Patreon has          11:53

24         Terms of Use and a Privacy Policy; is that                11:53

25         correct?                                                  11:53

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1              A.   Yes.                                             11:53

2              Q.   How are the Terms of Use presented to            11:53

3          its subscribers?                                          11:53

4              A.   So from my understanding, the product,           11:53

5          which is -- I'm not, you know, I can talk about           11:53

6          the mechanics, which is when a user comes to              11:53

7          patreon.com and wants to make an account, they            11:53

8          must agree to our terms and follow the Privacy            11:54

9          Policy, which is stated on our authentication             11:54

10         page.                                                     11:54

11             Q.   Is there a checkbox that a user has to           11:54

12         click before he or she can subscribe indicating           11:54

13         that that person agreed to the terms?                     11:54

14             A.   It's an explicit --                              11:54

15                  MR. WALKER:     Object to form.                  11:54

16                  WITNESS:     It's an explicit button.            11:54

17         When you hit "Sign Up," there is text that says           11:54

18         you agree.      So that button is kind of our -- is       11:54

19         the checkbox.                                             11:54

20                  But I think you're asking if there's an          11:54

21         explicit checkbox, like a form button, like a             11:54

22         check mark, is that what you're asking?                   11:54

23         BY MR. GRILLE:                                            11:55

24             Q.   That is what I'm asking.                         11:55

25             A.   There is no checkbox, no.                        11:55

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1              Q.     So if I understand correctly, when you         11:55

2          sign up, you load the sign-up button, there's             11:55

3          language that says something to the effect of by          11:55

4          signing up, you agree to the terms; is that               11:55

5          correct?                                                  11:55

6                     MR. WALKER:   Object to form.                  11:55

7                     WITNESS:   I don't remember the exact          11:55

8          line, but there is, off the top of my head, but           11:55

9          yes, you are a big nature, which is that you are          11:55

10         agreeing to our Privacy Policy and terms.                 11:55

11         BY MR. GRILLE:                                            11:55

12             Q.     Is it true that that language                  11:55

13         references both the terms and Privacy Policy?             11:56

14             A.     My understanding, yes.                         11:56

15             Q.     What's the basis of that understanding?        11:56

16             A.     After reviewing the language, to me            11:56

17         it's clear that you are agreeing to both in the           11:56

18         way that it's written.                                    11:56

19             Q.     Am I correct, though, that users don't         11:56

20         have to check a box before they can proceed that          11:56

21         says expressly I agree to these terms?                    11:56

22                    MR. WALKER:   Objection, form.                 11:56

23                    WITNESS:   The way that the language           11:56

24         says -- that states it is something to the                11:56

25         effect of by accepting -- by hitting Sign Up,             11:56

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1          you are accepting the terms and Privacy Policy.           11:56

2          So you are -- when you click that button you are          11:57

3          agreeing.                                                 11:57

4                   So I'm not sure if that answers your             11:57

5          question directly.                                        11:57

6          BY MR. GRILLE:                                            11:57

7              Q.   That answers my question, and maybe to           11:57

8          put a finer point, I think you've answered it.            11:57

9                   But the language indicates that by               11:57

10         clicking Sign Up, you agree to the terms, but             11:57

11         there isn't a separate box that somebody checks           11:57

12         that they have to check or take some action               11:57

13         before they can proceed.      To clicking Sign Up,        11:57

14         it says I agree to the terms; is that right?              11:57

15             A.   To my -- so my -- my understanding is            11:57

16         when you click the box, the sign-up button, you           11:57

17         are agreeing.    The button that says "Sign Up,           11:57

18         says "by clicking this, you are agreeing."                11:58

19                  So there is no separate isolated                 11:58

20         checkbox that you click that says by clicking             11:58

21         this checkbox, you agree.       It says "by clicking      11:58

22         the sign-up button, you agree."                           11:58

23             Q.   Has that always been the presentation            11:58

24         of the terms between 2016 and the present?                11:58

25             A.   Yes, to my --                                    11:58

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1                   MR. WALKER:      Objection, form.                       11:58

2                   WITNESS:      Yes, to my understanding.                 11:58

3          BY MR. GRILLE:                                                   11:59

4              Q.   Does Patreon keep -- no, strike that.                   11:59

5              A.   After your next question, is it okay if                 11:59

6          I use the bathroom for about five minutes?                       11:59

7                   MR. GRILLE:      Yeah, why don't we -- I'm              11:59

8          about to switch gears to a difference topic.             So      11:59

9          why don't we just go off the record now.                         11:59

10                  VIDEOGRAPHER:       Going off the record.               11:59

11         The time is 2:59 p.m.                                            11:59

12                  (Off the record.)                                       12:11

13                  VIDEOGRAPHER:       Back on the record.       The       12:11

14         time is 3:11 p.m.                                                12:11

15         BY MR. GRILLE:                                                   12:11

16             Q.   Great.                                                  12:11

17                  Did you speak with anybody other than                   12:11

18         your attorneys during the break?                                 12:11

19             A.   No.                                                     12:12

20             Q.   I'm going to turn to Topic 3 on                         12:12

21         Exhibit 14, which has several subparts, but                      12:12

22         relates to Patreon's placement of Meta Pixel and                 12:12

23         time period, what pages it was there.                            12:12

24                  Are you prepared to discuss that topic?                 12:12

25             A.   Yes, I am.                                              12:12

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1              Q.    And you said earlier that the first             12:12

2          instance when the Facebook Pixel was installed            12:12

3          on Patreon's website was April 2016; is that              12:12

4          right?                                                    12:12

5              A.    Yeah.                                           12:12

6                    April, I'm almost certain that's the            12:12

7          date.    I don't know the exact day, but April            12:12

8          sounds -- April or May, 2016, something like              12:12

9          that.                                                     12:12

10             Q.    Do you know who at the company made the         12:12

11         decision to install a Pixel?                              12:13

12             A.    I don't know who made the final                 12:13

13         decision, no.                                             12:13

14             Q.    Is there a person or a team who's               12:13

15         responsible for installing the Facebook Pixel             12:13

16         code?                                                     12:13

17             A.    It would be our engineering team.               12:13

18             Q.    And you're part of that team, right?            12:13

19             A.    I am.                                           12:13

20             Q.    Is the engineering team also                    12:13

21         responsible for maintaining the code, you know,           12:13

22         to the extent something goes wrong they would             12:14

23         address it, that kind of thing?                           12:14

24                   MR. WALKER:   Object to form.                   12:14

25                   WITNESS:   It is part of our job and our        12:14

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1          duty, yes, in our role.                                   12:14

2          BY MR. GRILLE:                                            12:14

3              Q.   Do you have a contact at Meta who would          12:14

4          advise you related to Patreon's usage of the              12:14

5          Meta Pixel?                                               12:14

6                   MR. WALKER:        Object to form.               12:14

7                   WITNESS:     No.                                 12:14

8          BY MR. GRILLE:                                            12:14

9              Q.   Have you worked with Meta at all in              12:14

10         relation to the -- to Patreon's Meta Pixel?               12:14

11                  MR. WALKER:        Object to form.               12:14

12                  WITNESS:     No.                                 12:14

13         BY MR. GRILLE:                                            12:14

14             Q.   Has anybody on your team worked with             12:14

15         Meta at all in relation to Patreon's Meta Pixel?          12:14

16                  MR. WALKER:        Objection, form.              12:14

17                  WITNESS:     You're asking if any employee       12:15

18         has ever worked -- or directly with Meta in               12:15

19         terms of integrating the Meta Pixel; is that --           12:15

20         is that what the question was?         Any employee?      12:15

21         BY MR. GRILLE:                                            12:15

22             Q.   Yes.                                             12:15

23             A.   No, not to my knowledge.                         12:15

24             Q.   Is it accurate to say that the Meta              12:15

25         Pixel, Facebook Pixel was integrated into the             12:15

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1                              C E R T I F I C A T E
2
3           STATE OF WASHINGTON )
                                       )SS.
4           COUNTY OF KING             )
5
6                   I, Judith A. Robinson, Certified Court
7           Reporter and an officer of the Court under my
8           commission as a Notary Public, in and for the
9           State of Washington, do hereby certify that the
10          foregoing deposition was transcribed under my
11          direction; that the transcript of the deposition
12          is a full, true and correct transcript to the
13          best of my ability; that I am neither attorney
14          for, nor a relative or employee of any of the
15          parties to the action or any attorney or Counsel
16          employed by the parties hereto, nor financially
17          interested in its outcome.
18                IN WITNESS WHEREOF, I have hereunto set my
            hand and affixed my official seal this 11th day
19          of October, 2023.
20
21
                               <%17662,Signature%>
22                        Judith A. Robinson, Notary Public
                          in and for the State of
23                        Washington residing at Seattle.
                          My Commission expires November 4, 2024.
24                        CCR License #2171
25

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ATTACHMENT 1


Citation     Current                      Actual                           Reason
 Pg. 10,     “ I don’t quite exactly      “I don’t quite exactly recall    Transcription error.
 lines 20-   recall the introduction to   the introduction to this, it’s
 22          this extent at this point,   been at this point a series of
             you know, a series of        back and forth.”
             back and forth.”

 Pg. 12,     “And you said you want       “This the first time I’m         Transcription error.
 line 16     me to focus on Page 5?”      seeing this document. And
                                          you said you wanted me to
                                          focus on Page 5?”

 Pg. 12,     “I just want to actually     “I just want to actually just    Transcription error.
 lines 23-   just kind of finish up the   adjust to the actual verbiage
 25          actual verbiage a little     a little more.”
             bit more.”


 Pg. 13,     Q: “No, I don’t think        Q: “No, I don’t think so.        Transcription error.
 line 14     so.”                         Let’s just take it maybe one
                                          by one. Let me start. Dou see
                                          on page 5 there is a heading
                                          that says “Areas of
                                          Inquiry?”

 Pg. 15,     “In the general sense of,    “In the sense of, as you said,   Transcription error.
 lines 15-   as you said, kind of         kind of engineers in the
 16          general engineers in the     industry.”
             industry.”

 Pg. 19,     “GetLens”                    *GitLens                         Transcription error.
 line 12-
 13

 Pg. 23,     “He provided a query of      “He provided a general           Transcription error.
 line 11-    general understanding..”     query to get a general
 12                                       understanding…”

 Pg. 33,     “... that I have.”           “...that I know.”                Transcription error.
 line 07

 Pg. 33,     “publish..”                  “which I’ve done”                Transcription error.
 line 21

 Pg. 34,     “I would probably put        Insert: “It was C++, C           Transcription error.
 line 03     PHP…”                        Sharp, C. I would probably
                                          put PHP…”

 Pg. 35,     “While Django and            “Well Django and Flack are       Transcription error.
 line 4-5    Flack are in Python          in Python, Note is in
             noted in Javascript.”        Javascript.”
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ATTACHMENT 1


Pg. 36,     “The language is used..”   “The languages used..”            Transcription error.
line 17

Pg 36 -     “frameworks and skills –   “frameworks and skills – or       Transcription error.
37, lines   or sorry, the              sorry, the frameworks and
25-1                                   languages essentially that
            powerpatreon.com”          power patreon.com”

Pg.37,      “had to change”            “have changed”                    Transcription error.
line 14

Pg. 38,     “ have accredited..”       “ am accredited..”                Transcription error.
line 23

Pg. 39,     Q:                         Insert: Q: “I’d like to ask       Transcription error.
line 04                                next, so if you turn to Exhibit
                                       14 - it may help to just leave
                                       that open for the
                                       deposition…”

Pg. 43,     “ at in this number”       “ for in this number”             Transcription error.
line 03-
04

Pg. 45,     Q: “And…”                  Q: “In..”                         Transcription error.
line 15

Pg. 48,     “our subset..”             “a subset..”                      Transcription error.
line 10

Pg. 50,     “posts don’t typically     Insert after “polls”: “But    Transcription error.
lines 14-   have poll. But there       there could be some numbers
15          could be some depiction    that could have added into it
            of a watch”                by accident. So we just need
                                       to remove some of those
                                       extraneous events to get a
                                       more accurate depiction of a
                                       watch.”

Pg. 53,     “Nick”                     “Nate”                            Transcription error.
line 22

Pg. 54,     “not to define one         “-- to find one unique..”         Transcription error.
line 18     unique”

Pg. 63,     Q: “Within that video”     Q: “with embedded video”          Transcription error.
line 22

Pg. 69,     “You are a big nature..”   “something to that nature”        Transcription error.
line 09
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ATTACHMENT 1


Pg. 75,    “I have lined up with”     “I had joined, I believe, in    Transcription error.
line 22                               February”

Pg. 89,    Q: “a carat”               Q: “a caret”                    Transcription error.
line 11

Pg. 90,    “Yes, there’s a line that  Insert: “theres a line that     Transcription error.
line 11    said we received this as   said
           part of the heading, yes.” patreon/app/web/view/basep
                                      age/reactbasepage.html so
                                      this means that - to answer
                                      your question, pages served
                                      through the react base page
                                      would receive this as part of
                                      the head, yes.”

Pg. 96,    “this page header”         “this page header code”         Transcription error.
line 14

Pg. 96,    “It needed”                “In either..”                   Transcription error.
line 18

Pg. 101,   “what this event is        “when this event is called”     Transcription error.
line 21    called”

Pg. 119,   “or unique user”           “of a unique user”              Transcription error.
line 22

Pg. 124,   “DevX is what we called    “DevX is what we called our     Transcription error.
line 25    our developer.”            developer tool, or this tool
                                      that we built for spitting up
                                      instances. It general stands
                                      for developer experience”

Pg. 126,   “And so the only things    “The only things that can       Transcription error.
line 22-   that can happen in that    access that vault are the
23         vault are the production   production servers for
           servers.”                  example.”

Pg. 127,   Q: “unable”                Q: “able”                       Transcription error.
line 21

Pg. 133,   “090 and 98089             “098 or 089”                    Transcription error.
line 25

Pg. 134,   “bar-coded ID”             “hard-coded ID”                 Transcription error.
line 10

Pg. 134,   “bar-coded pixel”          “hard-coded ID”                 Transcription error.
line 18
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ATTACHMENT 1


Pg. 140,     “Yes.”                    “That’s right.”                Transcription error.
line 11

Pg. 141,     Q: “We say”               Q: “Where you say”             Transcription error.
line 05

Pg. 150,     “within a month”          “within the month”             Transcription error.
line 25

Pg. 179,     Q: “RAIN and              Q: “RAIN Facebook”             Transcription error.
line 14      Facebook”

Pg. 179,     Q: “Firing and Trigger”   Q: “Firing trigger”            Transcription error.
line 21-
22

Pg. 188,     “Which are 26 starts      “Which are 26 starts with,     Transcription error.
line 04      with an “as of 98”        and ends with “98”

Pg. 189,     Q: “https://protect-      Q:                             Transcription error.
line 24      us.mimecast.com/s/QkB     “patreon.com/channel5/post
             7CVO9OoFxG7Y9iGo8         s”
             TD?domain=pat
             reon.com”



Pg. 190,     “become low”              “become null”                  Transcription error.
line 22

Pg. 191,     Q: “Vuvalde”              Q: “Uvalde”                    Transcription error.
line 10

Pg. 193,     Reporter: “Vimeo”         Insert before Reporter:        Transcription error.
line 05                                “Vimeo”- “ I have heard of
                                       Vimeo, yes.”

Pg. 193,     “No”                      Remove line                    Transcription error.
line 07

Pg. 195,     “I don’t know”            “know of no”                   Transcription error.
line 23-
24

Pg. 202,                               Indicate that the witness      Transcription error.
lines 04 -   Indicates Q is            began talking: “Specifically
10           continuing.               you said….”

Pg. 205,     Q: “Pix”                  Q: “Pixel”                     Transcription error.
line 08
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ATTACHMENT 1


 Pg. 207,    “But do the math”          “You could do the math”           Transcription error.
 line 08

 Pg. 219,    “Pay day”                  “8A”                              Transcription error.
 lines 15-
 16



Full Page Edits:
    - Page 189: Timestamps are on the left side, rather than the right.
    - Page 191: Timestamps are on the left side, rather than the right.
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1           STATE OF WASHINGTON )
2                                      ) SS.
3           COUNTY OF KING             )
4
5                I, the undersigned, declare under penalty of
6           perjury that I have read the foregoing
7           transcript, and I have made any corrections,
8           additions, or deletions, that I was desirous of
9           making; that the foregoing is a true and correct
10          transcript of my testimony contained therein.
11
12                                    03
                        EXECUTED this ______ day of
13          10
            ____________ 2023 at Brooklyn
                                 ____________,
14          _______________.
            NY

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17                    ______________________________
18
19                             JASON BYTTOW
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1    BRAYDEN STARK and JUDD OOSTYEN vs. PATREON, INC.
2    Jason Byttow (JOB NO. 6023169)
3                            E R R A T A         S H E E T
4    PAGE_____ LINE_____ CHANGE________________________
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24   WITNESS                                              Date
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                       Errata Sheet
                       Transcript Signature Page.pdf and 1 other
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